    Case 1:22-cv-04930-PKC-CLP Document 47 Filed 08/29/23 Page 1 of 8 PageID #: 152




                         Via Electronic Filing                         August 29, 2023
                         The Honorable Magistrate Judge Cheryl L. Pollak
                         U.S. District Court, Eastern District of New York
                         225 Cadman Plaza East
                         Brooklyn, NY 11201
Ian E. Smith
ian@spirelawfirm.com
407.494.0135                      Re: Donatus Ugwudiobi, et al v. International Trendz, LLC d/b/a
                                  Presidential Security Co., Case No. 22-CV-4930-PKC-CLP1
Spire Law, LLC
2572 W State Rd 426
Suite 2088                        Re: Jason Odom, et al. v. International Trendz, LLC and Ismail
Oviedo, FL 32765                  Qadar, Case No. 23-CV-828


spirelawfirm.com
                         Dear Judge Pollak,
                         I hope this message finds you well. As you are probably aware, this firm
                         serves as counsel for Defendant International Trendz, LLC d/b/a Presidential
                         Security Co. in the above-referenced matters.
                         This letter address the Motion filed by Justin S. Clark from Levine & Blit, PLLC
                         and Erik M. Bashian, from Bashian & Papantoniou, P.C., on behalf of
                         Plaintiff’s Jason Odom (“Odom”) and Sahara Jackson (“Jackson”) seeking to
                         join in the motion for a Conditional Collective Certification, pursuant to 29
                         U.S.C. § 216(b). The Motion was filed on or about July 27, 2023. [Doc. 44.]
                         The Motion also follows the letter motion dated June 14, 2023, submitted
                         by the Law Office of David Wims, on behalf of his clients, in relation to the
                         Ugwudiobi matter referenced above.


                         We contend that seeking conditional certification under the Fair Labor
                         Standards Act (“FLSA”) is unnecessary at this time and ultimately wastes
                         both the parties’ and Court’s time.


                         Legal Standard Re Motion for Conditional Certification


                         The Second Circuit has held that pursuant to the Fair Labor Standard Act
                         (“FLSA”), plaintiffs seeking certification of a collective action pursuant to 29



                         1
                          Consolidated with Jason Odom & Sahara Jackson v. International Trendz, LLC & Ismail
                         Qadar, EDNY Case No. 1:23-CV-00828
Case 1:22-cv-04930-PKC-CLP Document 47 Filed 08/29/23 Page 2 of 8 PageID #: 153




                     U.S.C. § 216(b) must survive a two-stage process. See Myers v. Hertz Corp.,
                     624 F.3d 537, 554-555 (2d Cir. 2010). "This process entails an analysis of
                     whether prospective plaintiffs are 'similarly situated' at . . . an early 'notice
                     stage,' and again after discovery is largely complete." Garcia v. Chipotle
                     Mexican Grill, Inc., No. 16 CIV. 601 (ER), 2016 U.S. Dist. LEXIS 153531, 2016
                     WL 6561302, at *3 (S.D.N.Y. Nov. 4, 2016) (citing McGlone v. Contract Callers,
                     Inc., 867 F. Supp. 2d 438, 442 (S.D.N.Y. 2012)).


                     At the "notice stage," which is the current stage of this litigation, the "court
                     makes 'an initial determination to send notice to potential opt-in plaintiffs
                     who may be 'similarly situated' to the named plaintiffs with respect to
                     whether a FLSA violation has occurred.'" Id. (quoting Myers, 624 F.3d at
                     555). "The standard at the first stage is not stringent." Rojas v. Kalesmeno
                     Corp., No. 17 CIV. 0164 (JCF), 2017 U.S. Dist. LEXIS 112491, 2017 WL
                     3085340, at *3 (S.D.N.Y. July 19, 2017). Plaintiff need only make a "'modest
                     factual showing' based on the 'pleadings and affidavits' that the putative
                     class members were 'victims of a common policy or plan that violated the
                     law.'" Fernandez v. Sharp Management Corp., No. 16 CV 551, 2016 U.S. Dist.
                     LEXIS 141916, 2016 WL 5940918, at *2 (S.D.N.Y. Oct. 13, 2016) (quoting
                     Cardenas v. AAA Carting, No. 12 Civ. 7178, 2013 U.S. Dist. LEXIS 114982,
                     2013 WL 4038593, at *1 (S.D.N.Y. Aug. 9, 2013)); accord Bittencourt v.
                     Ferrara Bakery & Café, Inc., 310 F.R.D. 106, 111 (S.D.N.Y. 2015).


                     A plaintiff can make a "modest factual showing" with her own declarations
                     or the declarations of other potential class members. Trinidad v. Pret a
                     Manger (USA) Ltd., 962 F. Supp. 2d 545, 557-58 (S.D.N.Y. 2013). "Indeed,
                     courts have granted motions for conditional certification where only one
                     plaintiff submitted a declaration." Rojas, 2017 U.S. Dist. LEXIS 112491, 2017
                     WL 3085340, at *3 (collecting cases).


                     Although the burden is low, certification is not automatic—conclusory
                     allegations are not sufficient. Id. (citing Raniere v. Citigroup Inc., 827 F. Supp.
                     2d 294, 320 (S.D.N.Y. 2011), rev'd on other grounds, 533 Fed. Appx. 11 (2d
                     Cir. 2013)) (citing Benavides v. Serenity Spa NY Inc., 166 F. Supp. 3d 474, 481
                     (S.D.N.Y. 2016)).


                     Notwithstanding that conclusory allegations may not form the basis of
                     such certifications, there are two (2) other reasons why the Plaintiffs
                     fail in their attempts to seek conditional class certification.
Case 1:22-cv-04930-PKC-CLP Document 47 Filed 08/29/23 Page 3 of 8 PageID #: 154




                     First, the putative Plaintiffs have worked at 4 different locations, all of
                     which implicate joint employer status protections. As the Plaintiffs
                     have experienced employment with the four separate corporate
                     entities, the Plaintiffs have not shared the same experiences and
                     frankly, a class representative from one joint employer could be
                     considered a genuinely different class.

                     Second, the fact is that the aforementioned Plaintiffs have all received
                     their wages, thereby warranting dismissal of their respective claims,
                     and as such, curing any unpaid wage violation. See Uraga v. Amici
                     519 LLC, 2018 U.S. Dist. LEXIS 124615, *5.


                     Therefore, we are presented with 3 grounds why Conditional Class
                     Certification should not be granted: (1) Plaintiffs request for Conditional
                     Class Certification is based on purely conclusory allegations, (2) the
                     respective employees are not all within the same sought after class and fail
                     to have standing, and (3) all of the available Plaintiffs have received their
                     unpaid wages and no longer have damages.


                     While it is true that the Court may hold that the "the evidentiary standard is
                     lenient" as it concerns a Conditional Class Certification, the fact is that
                     Plaintiffs seeking conditional certification "need only make a modest factual
                     showing sufficient to demonstrate that they and potential plaintiffs together
                     were victims of a common policy or plan that violated the law." See
                     Doucoure v. Matlyn Food, Inc., 554 F. Supp. 2d 369, 372 (E.D.N.Y. 2008)


                     To be entitled to conditional certification, a movant is not required to prove
                     an actual FLSA violation, "but rather that a 'factual nexus' exists between the
                     plaintiff's situation, and the situation of other potential plaintiffs." See
                     Sobczak v. AWL Indus., Inc., 540 F. Supp. 2d 354 (2007); See also Sexton v.
                     Franklin First Fin., Ltd., No. 08-cv-4950, 2009 U.S. Dist. LEXIS 50526, 2009 WL
                     1706535, at (2009). In other words, so long as there is a factual nexus
                     showing some sort of common thread between the Plaintiff’s current
                     situation (i.e. his or her allegations of unpaid wages) and the situation of
                     other potential plaintiffs, then the Court will grant the conditional
                     certification.


                     But what is not being considered here is the following:



                         1. There are no other “potential plaintiffs” because as of
                            6/12/2023, Defendant received notice from the U.S.
Case 1:22-cv-04930-PKC-CLP Document 47 Filed 08/29/23 Page 4 of 8 PageID #: 155




                             Department of Labor (“US DOL”) that all wages issues have
                             been remedied for all 193 employees. As such, they are
                             currently preparing a Case Closure Notice so they could close
                             out their file accordingly.
                             1.

                         2. This will also have the affect of eliminating any future class
                            certifications, as the second step toward class certification,
                            examination of the evidence records to determine if the opt-in
                            plaintiffs are actually similarly situated, and this standard could
                            not be met, as other than the 10 plaintiffs in both cases
                            combined, there are no other members who are suffering from
                            FLSA wage violations.


                     With that as a backdrop, we go through the 3 arguments against Conditional
                     Class Certification.


                     The Desire for Conditional Class Certification Is Based On Conclusory
                     Allegations.


                     The Plaintiffs contend that they were non-exempt employees working for
                     Defendants during the period of May 1, 2023 through August 31, 2023 and
                     were not paid the minimum wage and overtime wages. They argue that
                     Defendants have not produced any records during discovery to show that
                     the parties were compensated by Defendants for their work at any time.
                     Thus, the conclusory allegation is that (a) they were not paid what they were
                     owed, and (b) this is the result based on the fictitious allegation that they do
                     not have records from Defendants.


                     This is untrue, because by the time of this opposition—the Defendant has
                     made payment in full to the Department of Labor, which in turn has
                     provided payment to the Plaintiffs for purposes of their unpaid wages.


                     Plaintiffs are also seizing on the fact that the Defendant may not have pay
                     records for Ms. Jackson since she began employment after Exodus stopped
                     making payments. This alleged facts, however, is irrelevant because like the
                     other 26 Plaintiffs in this action, her claims were resolved when the
                     Department of Labor’s action resolved.
Case 1:22-cv-04930-PKC-CLP Document 47 Filed 08/29/23 Page 5 of 8 PageID #: 156




                     How many times may the Plaintiff’s seek recovery from the same dollar
                     owed? Importantly, there is no bad faith here—there was simply an inability
                     of the Defendant to make payment as the money was solely sourced from
                     Exodus Transitional Corporation and the Mayor’s Office of Criminal Justice—
                     once those funds were no longer available, the program was unfunded.
                     After Defendant received money due from Exodus Transitional Corporation
                     and the Mayor’s Office of Criminal Justice, payment was immediately made
                     to the Department of Labor.


                     Payments were made in good faith, with objectively reasonable grounds for
                     believing that its acts or omissions did not violate the FLSA, and there was
                     no willful withholding of wages due—so as such, there is no additional
                     recovery here available for the Plaintiffs. See Ling Nan Zheng, 2009 U.S.
                     Dist. LEXIS 41624, 2009 WL 1383488, at *1 (citation and quotation marks
                     omitted).


                     To say that minimum wages are still owed, to say that there are no records
                     of payment, completely ignores the entire settlement with the USDOL.


                     The Plaintiffs Lack Standing Because the Unpaid Wages Issue Was
                     Resolved.


                     As a preliminary matter, standing is a question of whether (1) the Plaintiff(s)
                     have "suffered an 'injury in fact' that is (a) concrete and particularized, and
                     (b) actual or imminent, not conjectural or hypothetical; (2) [whether] the
                     injury is fairly traceable to the challenged action of the defendant; and (3)
                     [whether] it is likely, as opposed to merely speculative, that the injury will be
                     redressed by a favorable decision." See Friends of the Earth, Inc. v. Laidlaw
                     Envtl. Servs. (TOC), Inc., 528 U.S. 167, 120 S. Ct. 693, 145 L. Ed. 2d 610 (2000)
                     (citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 112 S. Ct. 2130, 119 L. Ed.
                     2d 351 (1992)).


                     In a nutshell, the Plaintiffs in this matter were identified as parties to the
                     U.S. Department of Labor proceeding, and to our knowledge, have been
                     paid in full at this time. We are currently waiting for the Department of
                     Labor to issue us a Notice of Case Closure indicating that the Plaintiffs have
                     been paid what they were owed but from Defendants’ perspective, they
Case 1:22-cv-04930-PKC-CLP Document 47 Filed 08/29/23 Page 6 of 8 PageID #: 157




                     have been paid in full as we have paid the outstanding amount requested by
                     the DOL in full.


                     As a general rule, the settlement of a plaintiff's claim moots an action. See
                     Lake Coal Co. v. Roberts & Schaefer Co., 474 U.S. 120, 106 S. Ct. 553, 554, 88
                     L. Ed.2d 418 (1985); Hammond Clock Co. v. Schiff, 293 U.S. 529, 530, 55 S. Ct.
                     146, 79 L. Ed. 639 (1934). FLSA claims are frequently mooted where an
                     employer/defendant tenders "full payment." See, e.g., Cameron-Grant v.
                     Maxim Healthcare Servs., Inc., 347 F.3d 1240, 1244 (11th Cir. 2003)
                     (mootness doctrine applies to FLSA actions); Gathagan v. The Rag
                     Shop/Hollywood, Inc., No. 04-80520-CIV, 2005 U.S. Dist. LEXIS 47235, 2005
                     WL 6504414 (S.D.Fla. Feb.10, 2005) (defendant's tender of plaintiff's
                     maximum recoverable damages rendered plaintiff's case moot); Mackenzie
                     v. Kindred Hosps. E., 276 F. Supp. 2d 1211, 1219 (M.D. Fla. 2003) (offer of full
                     relief eliminates a legal dispute upon which federal jurisdiction can be based
                     and renders the case moot).


                     As their wages are paid in full through the DOL, this matter should be
                     rendered moot and there should be no standing since the injury has already
                     been remedied.


                     Because Plaintiffs Have Received Their Unpaid Wages, Their Claims and
                     Ability to Represent a Class are Moot.


                     As previously explained, the Plaintiffs have received full compensation, and
                     there is no record from the DOL of any of the Plaintiffs attempting to
                     abandon or reverse the settlement, or even disputing the unpaid wages
                     owed.


                     As a result, both Plaintiffs’ claims and the Plaintiff’s ability to represent a
                     class are moot. When a named plaintiff seeks to have a class certified, but
                     his personal claims subsequently become moot, the Plaintiff loses the ability
                     to represent the class. See, e.g., United States Parole Comm'n v. Geraghty,
                     445 U.S. 388, 100 S. Ct. 1202, 63 L. Ed. 2d 479 (1980); [**7] Deposit Guar.
                     Nat'l Bank v. Roper, 445 U.S. 326, 100 S. Ct. 1166, 63 L. Ed. 2d 427
                     (1980); Love v. Turlington, 733 F.2d 1562 (11th Cir. 1984).
Case 1:22-cv-04930-PKC-CLP Document 47 Filed 08/29/23 Page 7 of 8 PageID #: 158




                     As such, we respectfully request a pre-motion conference on this matter, to
                     discuss if it makes sense to engage in this sort of motion practice, if the
                     Court sees it from the Defendants’ perspective of the futility of the motion,
                     and if the Court’s position that there is still a reason for conditional class
                     certification, rather than go through the whole practice, if it makes more
                     sense to simply agree to stipulate to toll the deadline to seek class action
                     certification within thirty (30) days from the close of discovery.


                     We thank you for your time and consideration, and look forward to having a
                     conference on this matter to discuss the next best steps.



                             We thank the Court for its attention to this matter.
                                                              Respectfully,




                                                              Ian E. Smith, Esq.




                     cc:     Honorable Pamela K. Chen (By ECF)
                             David C. Wims, Esq. (By ECF)
                             Erik Bashian, Esq. (By ECF)
                             Justin Clark, Esq. (By ECF)
Case 1:22-cv-04930-PKC-CLP Document 47 Filed 08/29/23 Page 8 of 8 PageID #: 159
